Case 2:15-cv-01643-JRG-RSP Document 10 Filed 12/21/15 Page 1 of 1 PageID #: 38




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    MARSHALL DIVISION

    ROTHSCHILD CONNECTED DEVICES §
    INNOVATIONS, LLC                    §
                                        §
          Plaintiff,                    §                  Case No: 2:15-cv-01643-JRG-RSP
                                        §
    vs.                                 §                  LEAD CASE
                                        §
    SPRINT COMMUNICATIONS               §
    COMPANY, L.P.                       §
                                        §
          Defendant.                    §
    ____________________________________§


.                     ORDER OF DISMISSAL OF DEFENDANT
            SPRINT COMMUNICATIONS COMPANY, L.P. WITHOUT PREJUDICE

           On this day the Court considered the Unopposed Motion to Dismiss Sprint
    Communications Company, L.P. Without Prejudice, in the lawsuit between Plaintiff Rothschild
    Connected Devices Innovations, LLC (“Rothschild”) and Sprint Communications Company, L.P.
    Having considered the Motion and the pleadings in this case, the Court is of the opinion that the
    Motion should be, and is hereby, GRANTED.
           It is therefore ORDERED that all claims asserted by Rothschild Connected Devices
    Innovations, LLC against Sprint Communications Company, L.P. are hereby DISMISSED
    WITHOUT PREJUDICE pursuant to Fed. R. Civ. P. 41(a)(1), with each party to bear its own
            SIGNEDfees
    costs, attorneys’ thisand
                           3rdother
                               day of  January,
                                    litigation   2012.
                                               expenses.
           SIGNED this 21st day of December, 2015.




                                                           ____________________________________
                                                           ROY S. PAYNE
                                                           UNITED STATES MAGISTRATE JUDGE
